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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                                               CASE NO.:

  WINDY LUCIUS,

          Plaintiff,

  v.

  GEORGE SUPER TOPCO LLC

          Defendant.
                                                                  /

                               COMPLAINT FOR INJUNCTIVE RELIEF

          Plaintiff Windy Lucius (“Plaintiff”) hereby sues the Defendant, George Super Topco LLC

  (“Defendant”), a foreign limited liability company doing business in Florida, for Injunctive Relief,

  attorney’s fees, litigation expenses and costs pursuant to Title III of the Americans with Disabilities

  Act of 1990, as amended, 42 U.S.C. §§s 12181-12189 (“ADA”), 28 C.F.R. Part 36, et seq.

          1.      Venue lies in the Southern District of Florida pursuant to 28 U.S.C. § 1391(b) and

  Local Rule 3.1, in that the original transaction or occurrence giving rise to this cause of action

  occurred in this District.

          2.      Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

  original jurisdiction over actions which arise from the Defendant’s violations of Title III of the

  Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and § 2202.

          3.      Plaintiff is a Florida resident, lives in Miami-Dade County, is sui juris, and qualifies

  as an individual with disabilities as defined by the ADA. Plaintiff is legally blind and a member

  of a protected class under the ADA, 42 U.S.C. §§ 12102(1)-(2), the regulations implementing the

  ADA set forth at 28 CFR §§ 36.101 et seq. and in 42 U.S.C. 3602, §802(h). Plaintiff is substantially
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  limited in the major life activity of seeing. Plaintiff’s disability is defined in 28 C.F.R.

  §36.105(b)(2).

         4.        Plaintiff uses the internet and a mobile device to help her navigate a world of goods,

  products and services like the sighted. The internet, websites and mobile applications provide her

  a window into the world that she would not otherwise have. She brings this action against

  Defendant for offering and maintaining a mobile website (software that is intended to run on

  mobile devises such as phones or tablet computers) that is not fully accessible and independently

  usable by visually impaired consumers. Plaintiff utilizes the Apple Screen Reader VoiceOver

  software to read computer materials and/or access and comprehend internet mobile website

  information which is specifically designed for the visually impaired.

         5.        Plaintiff is also an advocate of the rights of similarly situated disabled persons and

  is a “tester” for the purpose of asserting her civil rights and monitoring, ensuring, and determining

  whether places of public accommodation and/or their mobile websites are in compliance with the

  ADA.

         6.        On information and belief, Defendant owns, operates and franchises places of

  public accommodation which are upscale specialty hotels branded as Freehand Hotels, and

  restaurants within those hotels which branded as “Broken Shaker” restaurants. Each Freehand

  Hotel and accompanying Broken Shaker restaurant is open to the public. As such, each hotel and

  restaurant are a Place of Public Accommodation subject to the requirements of Title III of the ADA

  and its implementing regulation as defined by 42 U.S.C. §§12181(7)(A) & (B), §12182, and 28

  C.F.R. §§36.104(1) & (2). Freeland Hotels are also referenced throughout as “place(s) of public

  accommodation,” “Freeland Hotel(s)” or “hotel(s)” and Broken Shaker restaurants are also

  referenced throughout as “place(s) of public accommodation,” “Broken Shaker restaurant(s),” or




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  “restaurant(s).”

            7.      There are four Freeland brand hotels and there is a Broken Shaker restaurant within

  each hotels. The hotels and restaurants are as follows:

        •         Flatiron District Freeland Hotel at 23 Lexington Avenue, New York, New York

                  10010;

        •         Downtown District Freeland Hotel at 416 W 8th Street, Los Angeles, California

                  90003;

        •         Miami Beach Freeland Hotel at 2727 Indian Creek Circle, Miami, Florida 33140; and

        •         River North Freeland Hotel at 19 East Ohio Street, Chicago, Illinois 60611.

  Each Broken Shaker restaurant is delineated within each of the Freeland Hotel properties.

            8.      The Broken Shaker restaurant located within the Miami Beach Freeland Hotel is

  operating within Miami Dade county and is within this district.

            9.      Defendant is defined as a “Public Accommodation" within meaning of Title III

  because Defendant is a private entity which owns, franchises, and/or, operates both “[A] hotel”

  and “[A] restaurant, bar, or other establishment serving food or drink,” §§12181(7)(A) & (B),

  §12182, and 28 C.F.R. §§36.104(1) & (2).

            10.     Subsequent to the effective date of the ADA, Defendant constructed, or caused to be

  constructed, the https://www.brokenshaker.com mobile website1 (hereinafter “mobile website”)

  for the general public to access on their mobile devices (phones, tablets). This mobile website

  supports, is an extension of, is in conjunction with, is complementary and supplemental to, Broken

  Shaker restaurant locations, including the Miami Beach location. The mobile website delineates



  1
    The https://www.brokenshaker.com/ website which services the Broken Shaker restaurants links to the
  https://freehandhotels.com website which has a Privacy and Terms and Conditions sections which clearly identifies
  that the owner and/or operator of the websites is Defendant


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  the goods, services, accommodations, privileges, benefits and facilities available to patrons at the

  restaurant’s physical location.

           11.      The mobile website is offered by Defendant as a way for the public to locate each

  Broken Shaker restaurant locations and to learn about the hours of operation, become familiar with

  the menu selections, provides a link to reserve a table for dining within each of the Broken Shaker

  restaurants, learn about booking private events and about special events, sign up for email

  notifications, and provides other information Defendant seeks to communicate to the public. By

  the provision of menu selection and reservation services, the mobile website is an integral part of

  the goods and services offered by Defendant. By this nexus, the mobile website is characterized

  as a Place of Public Accommodation to Title III of the ADA2, 42 U.S.C. §12181(7)(B) and 28

  C.F.R. §36.104(2).

           12.       By virtue of being the owner and/or operator of the mobile website, Defendant is

  defined as a Public Accommodation pursuant to §12181(7)(B) and 28 C.F.R. §36.104(2).

           13.      Defendant’s mobile website allows mobile device users to use a mobile platform

  through a connection to Wi-Fi or cellular data so that users can manage their dining choice from

  their mobile device. As such, it has subjected itself to the ADA because its mobile website is

  offered as a tool to promote, advertise and sell its products and services from its brick-and-mortar

  restaurant location which is a place of public accommodation. As a result, Defendant’s mobile

  website must interact with its restaurant and the public, and in doing so must comply with the

  ADA, which means it must not discriminate against individuals with disabilities and may not deny


  2
    “The Department of Justice has long taken the position that both State and local government Websites and the
  websites of private entities that are public accommodations are covered by the ADA. In other words, the websites of
  entities covered by both Title II and Title III of the statute are required by law to ensure that their sites are fully
  accessible to individuals with disabilities.” (See: Statement of Eve Hill Senior Counselor to the Assistant Attorney
  General for the Civil Rights Department of Justice - Before the Senate Committee on Health, Education, Labor &
  Pensions United States Senate – Concerning The Promise of Accessible Technology: Challenges and Opportunities –
  Presented on February 7, 2012.


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  full and equal enjoyment of the goods and services afforded to the general public. 3

          14.      Defendant’s mobile website does not properly interact with the VoiceOver screen

  reader software technology in a manner that allows blind and visually impaired individuals to

  comprehend the mobile website and does not provide other means to accommodate blind and

  visually impaired individuals.

          15.      Plaintiff has attempted to test and/or patronize Defendant’s mobile website in the

  past and intends to continue to make further attempts to test and/or patronize Defendant’s mobile

  website. Like the seeing community, she would like the opportunity to be able to use the

  Defendant’s mobile website to comprehend the restaurant menu selections and make reservations

  to dine in the Miami Beach Broken Shaker restaurant location. However, unless Defendant is

  required to eliminate the access barriers at issue and required to change its policies so that access

  barriers do not reoccur, Plaintiff will continue to be denied full and equal access to the mobile

  website as described and will be deterred from fully using Defendant’s mobile website or dining

  at the Miami Beach Broken Shaker restaurant location.

          16.      Plaintiff has attempted to utilize the mobile website and/or plans to continue to

  attempt to utilize the mobile website in the near future. In the alternative, Plaintiff intends to

  monitor the mobile website in the near future, as a tester, to ascertain whether it has been updated

  to interact properly with VoiceOver screen reader software.

          17.      Plaintiff is continuously aware of the violations on Defendant’s mobile website and

  is aware that it would be a futile gesture to attempt to utilize the mobile website as long as those

  violations exist unless she is willing to suffer additional discrimination.



  3
   According to Statista, almost half of web traffic in the United States originated form mobile devices in 2021.
  Therefore, Defendant knew or should have known that potential customers would be using the mobile version of its
  website and provided accessibility for blind users.


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          18.    Defendant and alike restaurants are fully aware of the need to provide full access

  to all visitors to its mobile website as such barriers result in discriminatory and unequal treatment

  of individuals with disabilities who are visually impaired and result in punishment and isolation

  of blind and low vision individuals from the rest of society.

          19.    Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

  alleged herein and this action is her only means to secure adequate redress from Defendant’s

  discriminatory practice.

          20.    Notice to Defendant is not required as a result of Defendant’s failure to cure the

  violations. Enforcement of the rights of Plaintiff is right and just pursuant to 28 U.S.C. §§ 2201,

  2202.

          21.    Plaintiff has been obligated to retain the civil rights law office of J. Courtney

  Cunningham, PLLC and has agreed to pay a reasonable fee for services in the prosecution of this

  cause, including costs and expenses incurred. Plaintiff is entitled to recover those attorney’s fees,

  costs and expenses from Defendant pursuant to 42 U.S.C. §12205 and 28 CFR 36.505.

                    COUNT I – VIOLATIONS OF TITLE III OF THE ADA

          22.    The ADA and implementation of ADAAG requires that Public Accommodations

  (and Places of Public Accommodation) are required to ensure that communication is effective,

  which includes the provision of auxiliary aids and services for such purpose.

          23.    According to 28 C.F.R. Section 36.303(b)(1), auxiliary aids and services includes

  “voice, text, and video-based telecommunications products and systems.” 28 C.F.R. Section

  36.303(b)(2) specifically states that (VoiceOver) screen reader software is an effective method of

  making visually delivered material available to individuals who are blind or have low vision.

          24.    28 C.F.R. Section 36.303(c)(1)(ii) specifically states that public accommodations




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  must furnish appropriate auxiliary aids and services where necessary to ensure effective

  communication with individuals with disabilities. “In order to be effective, auxiliary aids and

  services must be provided in accessible formats, in a timely manner, and in such a way as to protect

  the privacy and independence of the individual with a disability.”

         25.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

  subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

  public accommodations and requires places of public accommodation to be designed, constructed,

  and altered in compliance with the accessibility standards established by Part 36.

         26.     Defendant’s mobile website has been designed to integrate with the Broken Shaker

  brick-and-mortar restaurants through provision of a reservation service and the provision of menu

  selections for each of those locations; therefore, the mobile website is an extension of each Broken

  Shaker restaurant (Place of Public Accommodation). By and through its mobile website,

  Defendant extends each Place of Public Accommodation into individual persons' homes and

  portable devices wherever located. The mobile website is a service, facility, privilege, advantage,

  benefit and accommodation of Broken Shaker Places of Public Accommodation. As such,

  Defendant’s mobile website is integrated with, and is a nexus to, Broken Shaker brick-and-mortar

  restaurant locations. Therefore, it is governed by the following provisions:

                 a.      U.S.C. Section 12182(a) provides: “No individual shall be discriminated

  against on the basis of disability in the full and equal enjoyment of the goods, services, facilities,

  privileges, advantages, or accommodations of any place of public accommodation by any person

  who owns, leases (or leases to), or operates a place of public accommodation.”

                 b.      42 U.S.C. Section 12182(b)(1)(A)(i) provides: “It shall be discriminatory to

  subject an individual or class of individuals on the basis of a disability or disabilities of such




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  individual or class, directly, or through contractual, licensing, or other arrangements, to a denial

  of the opportunity of the individual or class to participate in or benefit from the goods, services,

  facilities, privileges, advantages, or accommodations of an entity[.]”

                  c.      42 U.S.C. Section 12182(b)(1)(A)(ii) provides: “It shall be discriminatory

  to afford an individual or class of individuals, on the basis of a disability or disabilities of such

  individual or class, directly, or through contractual, licensing, or other arrangements with the

  opportunity to participate in or benefit from a good, service, facility, privilege, advantage, or

  accommodation that is not equal to that afforded to other individuals[.]”

                  d.      42 U.S.C. Section 12182(b)(1)(A)(ii) provides: “It shall be discriminatory

  to provide an individual or class of individuals, on the basis of a disability or disabilities of such

  individual or class, directly, or through contractual, licensing, or other arrangements with a good,

  service, facility, privilege, advantage, or accommodation that is different or separate from that

  provided to other individuals, unless such action is necessary to provide the individual or class of

  individuals with a good, service, facility, privilege, advantage, or accommodation, or other

  opportunity that is as effective as that provided to others[.]”

                  e.      42 U.S.C. Section 12182(b)(1)(B) provides: “Goods, services, facilities,

  privileges, advantages, and accommodations shall be afforded to an individual with a disability in

  the most integrated setting appropriate to the needs of the individual.”

                  f.      42 U.S.C. Section 12182(b)(1)(C) provides: “Notwithstanding the existence

  of separate or different programs or activities provided in accordance with this section, an

  individual with a disability shall not be denied the opportunity to participate in such programs or

  activities that are not separate or different.”

                  g.      42 U.S.C. Section 12182(b)(2)(ii) describes as discrimination: “a failure to




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  make reasonable modifications in policies, practices, or procedures, when such modifications are

  necessary to afford such goods, services, facilities, privileges, advantages, or accommodations to

  individuals with disabilities, unless the entity can demonstrate that making such modifications

  would fundamentally alter the nature of such goods, services, facilities, privileges, advantages, or

  accommodations[.]”

                 h.      42 U.S.C. Section 12182(b)(2)(iii) describes as discrimination: “a failure to

  take such steps as may be necessary to ensure that no individual with a disability is excluded,

  denied services, segregated or otherwise treated differently than other individuals because of the

  absence of auxiliary aids and services, unless the entity can demonstrate that taking such steps

  would fundamentally alter the nature of the good, service, facility, privilege, advantage, or

  accommodation being offered or would result in an undue burden[.]”

         27.     Plaintiff attempted to access and/or utilize Defendant's mobile website, but was

  unable to, and she continues to be unable to enjoy full and equal access to the mobile website

  and/or understand the content therein because numerous portions of the mobile website do not

  interface with VoiceOver screen reader software. Specifically, features of the mobile website that

  are inaccessible to mobile VoiceOver screen reader software users include, but are not limited to,

  the following (citing the WCAG 2.1 Level A and AA Guidelines):


    i.   Guideline 2.4.3 Focus order is violated. The site is required to provide focus in a logical
         order, and this has been violated. Mobile VoiceOver screen reader software users are
         unable to make a reservation using the mobile website. Once the Reservations Link is
         opened, a pop-up is displayed, but that pop-up is not announced. Focus instead moves to
         items beneath the pop-up so mobile VoiceOver screen reader software users do not hear
         any of the reservation fields or the “Find a Table button.”

   ii.   Guideline 4.1.2 Name, Role, Value is violated. Mobile VoiceOver screen reader software
         users cannot access the menu content, place an online order, or submit a Private Event
         form. Mobile VoiceOver screen reader software users are able to open these pages but the
         page content is not announced on any of these pages. While the logo and main menu icons



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         are announced, when a mobile VoiceOver screen reader software user selects a link (such
         as menu), focus skips all of the page content and moves directly to the browser's back
         button. Mobile VoiceOver screen reader software users are not able scroll to see all of the
         page content, as focus does not move to any content displayed after the main menu icon

         28.     As the owner and/or operator of the Broken Shaker restaurant mobile website,

  Defendant is required to comply with the ADA and the provisions cited above. This includes

  Defendant’s obligation to create and maintain a mobile website that is accessible to and usable by

  visually impaired persons so that they can enjoy full and equal access to the mobile website and

  the content therein, including the ability to make a reservation to dine within the Broken Shaker

  restaurant, sign up for email communications and inquire about special events.

         29.     With respect to its mobile website, Defendant has violated the ADA by failing to

  interface its mobile website with VoiceOver screen reader software utilized by visually impaired

  individuals (as specifically delineated within paragraph 27) either directly or through contractual,

  licensing or other arrangements. Defendant’s violations have resulted in Defendant denying

  Plaintiff accommodation on the basis of her disability:

                 a.      by depriving Plaintiff of the full and equal enjoyment of the goods, services,

  facilities, privileges, advantages, or accommodations of its place of public accommodation (42

  U.S.C. § 12182(a));

                 b.      in the denial of providing Plaintiff the opportunity to participate in or benefit

  from the goods, services, facilities, privileges, advantages, or accommodations (42 U.S.C. §

  12182(b)(1)(A)(i));

                 c.      in failing to afford Plaintiff the opportunity to participate in or benefit from

  a good, service, facility, privilege, advantage, or accommodation that is equal to that afforded to

  other individuals (42 U.S.C. § 12182(b)(1)(A)(ii));

                 d.      by providing Plaintiff a good, service, facility, privilege, advantage, or



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  accommodation that is different or separate from that provided to other individuals (unless such

  action is necessary to provide the individual or class of individuals with a good, service, facility,

  privilege, advantage, or accommodation, or other opportunity that is as effective as that provided

  to others) (42 U.S.C. § 12182(b)(1)(A)(iii));

                 e.      by failing to afford Plaintiff goods, services, facilities, privileges,

  advantages, and accommodations in the most integrated setting appropriate to the needs of the

  disabled individual (42 U.S.C. § 12182(b)(1)(B));

                 f.      notwithstanding the existence of separate or different programs or activities

  provided in accordance with this section, by denying Plaintiff the opportunity to participate in such

  programs or activities that are not separate or different. (42 U.S.C. § 12182(b)(1)(C));

                 g.      by a failure to make reasonable modifications in policies, practices, or

  procedures, when such modifications are necessary to afford such goods, services, facilities,

  privileges, advantages, or accommodations to individuals with disabilities (unless the entity can

  demonstrate that making such modifications would fundamentally alter the nature of such goods,

  services, facilities, privileges, advantages, or accommodations) (42 U.S.C. § 12182(b)(2)(ii)); and,

                 h.      by a failure to take such steps as may be necessary to ensure that disabled

  individuals are not excluded, denied services, segregated or otherwise treated differently than other

  individuals because of the absence of auxiliary aids and services (unless the entity can demonstrate

  that taking such steps would fundamentally alter the nature of the good, service, facility, privilege,

  advantage, or accommodation being offered or would result in an undue burden) (42 U.S.C. §

  12182(b)(2)(iii)).

         30.     Plaintiff continues to attempt to utilize the mobile website and/or plans to continue

  to attempt to utilize the mobile website to review the menu selections and to make online




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  reservations for dining within the Miami Beach restaurant location.

         31.     Plaintiff is continuously aware of the violations within Defendant's mobile website

  and is aware that it would be a futile gesture to attempt to utilize the mobile website as long as

  those violations exist unless she is willing to suffer additional discrimination.

         32.     Plaintiff has suffered (and continues to suffer) frustration and humiliation as the

  result of the discriminatory conditions present within Defendant's mobile website. By continuing

  to operate its mobile website with discriminatory conditions, Defendant contributes to Plaintiff's

  sense of isolation and segregation and deprives Plaintiff the full and equal enjoyment of the goods,

  services, facilities, privileges and/or accommodations available to the general public. By

  encountering the discriminatory conditions within Defendant's mobile website and knowing that

  it would be a futile gesture to attempt to utilize the mobile website unless she is willing to endure

  additional discrimination, Plaintiff is deprived of the meaningful choice of freely visiting and

  utilizing the same accommodations readily available to the general public and is deterred and

  discouraged from doing so. By maintaining a mobile website with violations, Defendant deprives

  Plaintiff the equality of opportunity offered to the general public.

         33.     Plaintiff has suffered (and will continue to suffer) direct and indirect injury as a

  result of Defendant’s discrimination until Defendant is compelled to comply with the requirements

  of the ADA and conform its mobile website to WCAG 2.1 Level A and AA Guidelines.

         34.     Plaintiff has a realistic, credible, existing and continuing threat of discrimination

  from Defendant’s non-compliance with the ADA with respect to its mobile website. Plaintiff has

  reasonable grounds to believe that she will continue to be subjected to discrimination in violation

  of the ADA by Defendant. Plaintiff desires to access the mobile website to avail herself of the

  benefits, advantages, goods and services therein, and/or to assure herself that this mobile website




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  is in compliance with the ADA so that she and others similarly situated will have full and equal

  enjoyment of the mobile website without fear of discrimination.

         35.     Plaintiff is without adequate remedy at law and has suffered (and will continue to

  suffer) irreparable harm. The Plaintiff and all others similarly situated will continue to suffer

  discrimination, injury and damage without the immediate relief as requested herein.

         36.     Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

  Plaintiff Injunctive Relief, including an order to require Defendant to alter its mobile website to

  make it readily accessible to and usable by Plaintiff and other persons with vision impairments.

         WHEREFORE, Plaintiff Windy Lucius hereby demands judgment against Defendant

  George Super Topco LLC and requests the following injunctive and declaratory relief:

         a.      The Court issue a Declaratory Judgment that determines that Defendant's mobile

                 website is in violation of Title III of the Americans with Disabilities Act, 42 U.S.C.

                 § 12181 et seq.;

         b.      The Court issue a Declaratory Judgment that Defendant has violated the ADA by

                 failing to monitor and maintain its mobile website to ensure that it is readily

                 accessible to and usable by persons with vision impairment;

         c.      The Court issue an Order directing Defendant to alter its mobile website to make it

                 accessible to, and useable by, individuals with disabilities to the full extent required

                 by Title III of the ADA;

         d.      The Court issue an Order directing Defendant provide the appropriate auxiliary aids

                 such that individuals with visual impairments will be able to effectively

                 communicate with the mobile website for purposes of comprehending Defendant’s

                 menu selections, making reservations, learning of events, and of signing up to




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               receive email notifications, and during that time period prior to the mobile website’s

               being designed to permit individuals with visual impairments to effectively

               communicate, requiring Defendant to provide an alternative method for individuals

               with visual impairments to effectively communicate so that disabled individuals are

               not impeded from obtaining the goods and services made available to the public

               through Defendant’s mobile website.

        e.     The Court enter an Order directing Defendant to evaluate and neutralize its policies

               and procedures towards persons with disabilities for such reasonable time so as to

               allow Defendant to undertake and complete corrective procedures;

        f.     The Court enter an Order directing Defendant to continually update and maintain

               its mobile website to ensure that it remains fully accessible to and usable by visually

               impaired individuals;

        g.     The Court award attorney’s fees, costs and litigation expenses pursuant to 42

               U.S.C. § 12205; and,

        h.     The Court provide such other relief as the Court deems just and proper, and/or is

               allowable under Title III of the Americans with Disabilities Act.


  Dated: March 7, 2022
                                              Respectfully submitted,

                                              /s/ J. Courtney Cunningham
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